            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                 SOUTHERN/SOUTHWESTERN DIVISION

In Re: Criminal Trial Docket
       August 16, 2021

                                              ORDER

       Pursuant to the directions of the Honorable Douglas Harpool, United States District Judge,

the following criminal actions are set for pretrial conferences before United States Magistrate

David P. Rush, July 21, 2021, at the times shown below. The attorneys, including defense and

government counsel who will try the case, shall attend the pretrial conference. Prior to the

conference, trial counsel for the United States and trial counsel for the defendant are to meet

personally and discuss potential plea agreements. Final plea agreements are to be signed

prior to the conference or be ready for signature at the conference. Each defendant is to be

present unless, in advance of the conference, counsel advises the Court that a plea bargain has been

signed or the case simply needs to be set for trial. Attorneys are instructed to be prepared to make

such announcements as may be necessary in order that these cases may be tried or other disposition

made. Each of these cases, unless given a special setting, is set for trial on the joint criminal jury

trial docket, with all the available Judges of the Court sitting, commencing August 16, 2021.

       All pretrial conferences will be held in the U. S. Magistrate=s Courtroom, United States

Courthouse, 222 N. John Q. Hammons Parkway, Springfield, Missouri.

       Regarding motions for continuance and possible changes of plea, it is

       ORDERED that any defendant who intends to file a motion to continue the trial of his or

her case until the next joint docket, which is September 20, 2021, shall file such motion in a timely

fashion. A motion for continuance which is filed after the Friday prior to the scheduled

pretrial conference shall be considered untimely. A motion not timely filed will be summarily



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denied.

          Likewise, absent a showing of very exceptional circumstances, a timely filed motion

seeking a continuance of a criminal action will be summarily denied. Counsel for the moving

defendant or plaintiff shall state in the motion whether or not the plaintiff and co-defendants have

any objection to the continuance of the action. It is further

          ORDERED that counsel for a defendant whose case who wishes to plead guilty, shall

immediately call the chambers of the Honorable David P. Rush to schedule the change of plea.

If the parties consent, the plea will be scheduled before the United States Magistrate Judge;

otherwise, before the United States District Judge to which it is assigned.

                              Before Magistrate Judge David P. Rush

                                          July 21, 2021


21-03050-CR-S-MDH                     United States                  Tony Brown

                                              v.

                       -01            Brent Thompson                 Michelle Moulder



20-03118-CR-S-BP                      United States                  Jody Stockard

                                              v.

                       -01            Matthew J. Chiera              Stuart Huffman



20-03038-CR-S-MDH                     United States                  Ami Miller

                                              v.

                       -01            Brandon Lane McCullough        Stuart Huffman




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21-03082-CR-S-SRB            United States          Stephanie Wan

                                    v.

                    -01      Kody Ryan Kelso        Michelle Law



21-03051-CR-S-MDH            United States          Jody Stockard

                                    v.

                    -01      Julio C. Gonzalez      Ian Lewis



21-03059-CR-S-SRB            United States          Jody Stockard

                                    v.

                    -01      Kyle R. Evans          Brian Risley



21-03063-CR-S-MDH            United States          Patrick Carney

                                    v.

                    -01      George Becker          Michelle Moulder



21-03067-CR-S-BCW            United States          Randy Eggert

                                    v.

                    -01      David Panbehchi        Ian Lewis



21-03027-CR-S-RJ             United States          Casey Clark

                                    v.

                    -01      Gary T. Kruitbosch     Michelle Law




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19-03133-CR-S-MDH           United States            Jessica Sarff

                                   v.

                    -01     Ryon L. Woody            Tom Carver

                    -02     Tyler Partlow            Stuart Huffman



19-03153-CR-S-MDH           United States            Jody Stockard

                                   v.

                    -01     Brian L. Letterman       Alison Hershewe



20-05026-CR-SW-MDH          United States            Ami Miller

                                   v.

                    -01     Freddie Lewis Tilton     Shane Cantin

                    -02     Alvin Dale Boyer         David Back



21-03016-CR-S-BCW           United States            Shannon Kempf

                                   v.

                    -01     Patricia Ashton Derges   Albert Watkins



20-03111-CR-S-MDH           United States            Jessica Sarff

                                   v.

                    -01     Paul R. Aistars          Mark Hammer



21-03014-CR-S-RK            United States            Ami Miller

                                   v.

                    -01     Corey Levi Porter        Teresa Fiester
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21-03004-CR-S-SRB            United States          Patrick Carney

                                    v.

                    -01      Elizabeth D. Hessing   Marshall Miller



21-03019-CR-S-RK             United States          Stephanie Wan

                                    v.

                    -01      Eric Decocq            James Hayes



21-03006-CR-S-MDH            United States          Jody Stockard

                                    v.

                    -01      Larry D. Wright        Lacon Smith

                    -03      Alex J. Collins        Jason Coatney

                    -04      Theresa L. Villarea    Agi Prevendarscik



21-03033-CR-S-MDH            United States          Stephane Wan

                                    v.

                    -01      James Hudgins          Ann Koszuth



21-03008-CR-S-BP             United States          Jody Stockard

                                    v.

                    -01      Bradley Ogle           Ann Koszuth

                    -02      Gino C. Locklear       Gary Wilson




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20-03126-CR-S-MDH            United States          Patrick Carney

                                    v.

                   -01       Donald Scroggins       Ann Koszuth



20-03037-CR-S-MDH            United States          Ami Miller

                                    v.

                   -01       Tara New               Brian Risley



21-03024-CR-S-BP             United States          Stephanie Wan

                                    v.

                   -01       Colby Fronterhouse     Erica Mynarich



20-05030-CR-SW-RK            United States          Jessica Sarff

                                    v.

                   -01       Francisco Magallon     Michelle Law

                   -02       James L. Mangold       Russ Dempsey

                   -03       Michael D. Ash         Brian Risley

                   -05       Dustin L. Brenneman    Gary Wilson

                   -06       Misty M. Forester      Erica Mynarich

                   -07       Breanna S. Maggard     Alison Hershewe



20-03021-CR-S-MDH            United States          Jody Stockard

                                    v.

                   -03       Victor R. Haskins      Megan McCullough


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21-05006-CR-SW-BP            United States              Stephanie Wan

                                    v.

                    -01      Damion Spillman            Michelle Moulder



20-03050-CR-S-BP             United States              Jessica Sarff

                                    v.

                    -01      James W. Fithen            David Back

                    -02      Megan L. Neal              Kristin Jones

                    -03      Samuel L. Pyatt            Stuart Huffman

                    -04      Patrick A. Dodson          Darryl Johnson

                    -05      Bolinda J. Gleghorn        Marshal Miller

                    -06      Christopher L. Dusenbury   Russ Dempsey

                    -07      Kevin L. Moss              Shane Cantin

                    -10      Austin L. Velarde          Rob Aiken

                    -11      Brady T. Smith             Brandent Twibell

                    -12      Leslie O. Collins          James Hayes

                    -13      Chelsea Cloven             Penny Speake



21-05010-CR-SW-BP            United States              Ami Miller

                                    v.

                    -01      Caleb Riley Adams          Erica Mynarich



18-03129-CR-S-MDH            United States              Ami Miller

                                    v.

                    -01      Michael Austin Smith       Ian Lewis
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19-05041-CR-SW-SRB           United States           Ami Miller

                                    v.

                   -01       Harley Wayne Schrader   Ian Lewis



20-03005-CR-S-BP             United States           Jody Stockard

                                    v.

                   -01       Marrio C. Harris        David Back



20-03077-CR-S-MDH            United States           Jessica Sarff

                                    v.


                   -01       Walter Wilson           Lacon Smith



19-03159-CR-S-RK             United States           Byron Black

                                    v.

                   -02       Devonte A. Smith        David Johnson

                   -04       Danjouna A. Wiggins     Chad Garnder

                   -06       Dvante Q. Williams      Greg Wittner



19-03124-CR-S-RK             United States           Casey Clark

                                    v.

                   -01       Roy G. Harris, Jr.      Tom Carver




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20-03078-CR-S-BP             United States          Randy Eggert

                                    v.

                   -01       Robert Fugate          Michelle Law



20-03020-CR-S-MDH            United States          Jim Kelleher

                                    v.

                   -01       Joseph Ferzely         Erica Mynarich



19-03107CR-S-BP              United States          Megan Chalifoux

                                    v.

                   -02       Kathleen E. Rohrer     Alison Hershewe



20-03085-CR-S-BP             United States          Tony Brown

                                    v.

                   -01       Jamil K. Hanson        Michelle Moulder



20-5008-CR-SW-RK             United States          Ami Miller

                                    v.

                   -01       Terry Lee Miksell      Brian Risley



20-0362-CR-S-MDH             United States          Ami Miller

                                    v.

                   -01       Robert Tyson Hice      Michelle Law




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19-03084-CR-S-MDH           United States           Jessica Sarff

                                   v.

                    -01     Cheyenne W. Conn        Brady Musgrave

                    -08     Johnathon W. Arnold     Stuart Huffman

                    -09     Chandler Roberts        Don Cooley

                    -16     Michael R. Housley      Marshall Miller



21-05014-CR-SW-MDH          United States           Byron Black

                                   v.

                    -01     Jerold G. Lake          Stuart Huffman



21-03018-CR-S-RK            United States           Ami Miller

                                   v.

                    -01     Dace Allen Doverspike   Michelle Moulder



21-03028-CR-S-BCW           United States           Ami Miller

                                   v.

                    -01     Mark John Millman       Michelle Moulder



21-03032-CR-S-BP            United States           Jessica Sarff

                                   v.


                    -01     Nicholas Ponder         Michelle Moulder

                    -02     Michelle D. Christy     Amanda Burdick-Brown




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                                  10
20-03101-CR-S-SRB           United States            Tony Brown

                                   v.

                    -01     Robert Abbott            Ann Koszuth



21-03070-CR-S-BP            United States            Jody Stockard

                                   v.

                    -01     Jeffery A. Winder        Daniel Hunt



21-03073-CR-S-BP            United States            Ami Miller

                                   v.

                    -01     Gary Lee Kelly           Michelle Moulder



21-03069-CR-S-BCW           United States            Patrick Carney

                                   v.

                    -01     Nikolay P. Plyushchev    Michelle Molder



21-05026-CR-SW-BP           United States            Stephanie Wan

                                   v.

                    -01     Quinton Tyler McNeeley   Ann Koszuth



21-05021-CR-SW-MDH          United States            Jody Stockard

                                   v.

                    -02     Brittany Adcock          Marsha Jackson




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                                  11
21-03072-CR-S-MDH            United States              Stephanie Wan

                                    v.

                     -01     Porfirio Membreno Claros   Ann Koszuth



21-05030-CR-SW-MDH           United States              Patrick Carney

                                    v.

                     -01     Enrique Lopez-Cristobal    Ann Koszuth



21-03079-CR-S-RK             United States              Patrick Carney

                                    v.

                     -01     Cesar Guzman-Serrano       Michelle Law



21-03074-CR-S-BCW            United States              Ami Miller

                                    v.

                     -01     Billy Rae Clark            Ian Lewis




                                    /s/ David P. Rush
                                    DAVID P. RUSH
                                    UNITED STATES CHIEF MAGISTRATE JUDGE


Date: July 1, 2021




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